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                                                                                                               Eastern Dtstrlat of Kentucky
                                                                                                                      P~et LED
               MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT                                         JAN 29 2014
                            SENTENCE BY A PERSON IN FEDERAL CUSTODY                                                         AT LONDON

                                                                                                                   --,..... _.
                                                                                                                          ROBERT R. CARR
                                                                                                                   ."    '"    DISTRICT COURT
       United States District Court
                                                            I   District (E. D • KY)
   Name (under which you were conv1cted):                                         IDocket or Case No.:
   WERNER GRENTZ                                                                   6:12-cr-12-GVFT-HA1- 1
   Place of Confinement:
   FMC-LEXINGTON, KY.                                                     [   t~'~~l;e~~~.~
       UNITED STATES OF AMERICA                                      Movant    (include !lame under which you wore convicted)


                                                      v.        WERNER GRENTZ                                                    I
                                                    MOTION

  1.     (a) Name and location of court that entered the judgment of conviction you are challenging;
   U.S. District Court/Eastern District of Kentucky                                                (London Div)




         (b) Criminal docket or case number (if you know):        6: 1 2-cr-000 1 2-GFVT-HAI-1
  2.     (a) Date of the judgment of conviction (if you know):
            June      18, 2013
         (b) Da te of sentencing;    June 1 8 ,    201 3
  3.     Length of sentence:      Eighteen Months Imprisonment;                          3 Yrs. Sup. ReI.
  4.     Nature of crime (all counts):
         Failing to file tax return (26 USCS 7203)




  5.    (a) What was your plea? (Check one)
            (1)   Not gtlilty 0              (2)   Guilty   QD          (3)     Nolo contendere (no contest) 0
        (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count
        or indictment, what did you plead guilty to and what did you plead not guilty to?
                                            N/A




  6.    If you went to trial, what kind of trial did you have? (Check one)             Jmy 0               Judge only ::1
                                            N/A
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  7.   Did you testify at a pretrial hearing, trial,   01'   post-trial hearing?   Yes 0     No !Xl
  8.   Did you appeal from the judgment of conviction?                             Yes 0     No 5il
  9.   If you did appeal, answer the following;
       (a) Name of court: N / A
       (b) Docket or case number (if you know): N / A
       (c) Result:   N/ A
       (d) Date ofresult (if you know): N / A
       (e) Citation to the case (if you know):   N/ A
       (f) Grounds raised:    N/ A




       (g) Did you file a petition for certiorari in the United States Supreme Court?      Yes 0      No IX
           If "Yes," answer the following:
           (1) Docket or case number (if you know): N / A
           (2) Result:   N/ A


           (3) Date of result (if you know):     N/A
           (4) Citation to the case (if you lmow):     N/ A
           (5) Grounds raised: N/ A




 10. Other than the direct appeals listed above, have you previously filed any other motions,
       petitions, or applications concerning this judgment of conviction in any court?
          Yes 0      No !XI
 11. If your answer to Question 10 was "Yes," give the following 1l1formation:
       (a) (1) Name of court: N/A
          (2) Docket or case number (if you know):           N/ A
          (3) Date offiling (if you know):     N/ A
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                                                                                                          4

         (4) Nature of the proceeding: N / A
         (5) Grounds raised:     N/ A




        (6) Did you receive a hearing where evidence was given on your motion, petition, or
        application?     Yes 0 No 0         N/A
        (7) Result:     N/ A
        (8) Date of result (if you know):    N/ A
     (b) If you filed any second motion, petition, or application, give the same information:
        (1) Name of comt:      N/ A
        (2) Docket or case number (if you know):       N/ A
        (3) Date of filing (if you know): N / A
        (4) Nature of the proceeding:     N/ A
        (5) Grounds raised:      N/ A




        (6) Did you receive a hearing where evidence was given on your motion, petition, or

        application?     Yes 0     No 0     N/A
        (7) Result:    N/ A
        (8) Date of result (if you know): N / A
    (c) Did you appeal to a federal appellate court having jl\l'isdiction over the action taken on your
    motion, petition, or application?
        (1) First petition:       Yes 0     No 0     N/A
        (2) Second petition:      Yes 0     No 0     N/A
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      (d) If you did not appeal from the action on any motion, petition, or app lica tion, explain briefly
      why you did not:    Defense Counsel Advised Against Filing An Appeal.



  12. For this motion. state every ground on which you claim that you are being held in violation of the
      Constitution. laws. or treaties of the United States. Attach additional pages if you have more
      than four grounds. State the facts supporting each ground.


  GROUND ONE: Movant's plea of guilty was not knowing and inte­
  lligent, due to ineffective assistance of counsel during the
  plea stage of the criminal proceedings.
  (a) Supporting facts (Do not argue or cite law. J list state the specific facts that support you!' claim.);
  Prior to advising this movant to plead guilty, counsel failed
  to properly inform this movant of the laws relevant to his cr­
  iminal case or how the United states Sentencing Guidelines op­
  erated. Counsel's failure to so properly advise this movant
  resulted in this movant pleading guilty to an offense not ch­
  arged in the indictment and a sentence for conduct the movant
  neither pled guilty to nor admitted as an element of the off­
  ense of conviction. Had movant been properly advised he wou­
  ld have elected to proceed to trial in this matter, as the
  plea was, in fact, a sham in light of the fact this movant
  was sentenced for conduct which was supposedly dismissed in
  return for his plea of guilty.



  (b) Direct Appeal of Ground One:
     (1) If you appealed from the judgment of conviction. did you raise this issue?
                  Yes 0     No 0   No appeal taken
     (2) If you did not raise this issue in your direct appeal, explain why:

       Defense counsel's misleading conduct deprived this movant
       of any opportunity to appeal the matter.
  (c) Post-Conviction Proceedings:
     (1) Did you raise this issue in any post-conviction motion, petition. or application?

                  Yes 0 No lC
     (2) If your answer to Question (c)(l) is "Yes," state:
     Type of motion or petition: N fA
     Name and location of the court where the motion or petition was filed:        N fA
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     Docket or case number (if you know):             N/ A
     Date of the court's decision:                    N/ A
     Result (attach a copy of the court's opinion or order, if available):

                                                      N/A

     (3)   Did you receive a hearing on your motion, petition, or application?
           Yes 0     No 0 N/A
     (4) Did you appeal from the denial of your motion, petition,        01'   application?
           Yes 0     No 0 N/A
     (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
           YesO      NoON/A
     (6) If your   answer to Question (c)(4) is "Yes," state:
     Name and location of the COllrt where the appeal was filed: N/ A


     Docket or case number (if you know): N / A
     Date of the court's decision: N / A
     Result (attach a copy of the court's opinion or order, if available):
                                          N/A


     (7) If your answer to Question (c)( 4)   01'   Question (c)(5) is "No," explain why you did not appeal or
     raise this issue:     Ineffective Assistance of Counsel




 GROUND 1WO: Movant was denied his constitutional right to the
 effective assistance of counsel at sentencing.

 (a) Supporting facts (Do not argue or cite law, Just state the specific facts that support your claim.):
  At sentencing, defense counsel failed to object to the base
  offense level handed this movant, as required by U.s. Sente­
  ncing Guidelines, section 1B1.1, which resulted in a base
  offense level being set which took all counts in the indict­
  ment into account when arriving at the Base Offense Level.
  Had counsel objected, chances were extremely good this mo­
  vant's base offense level would have been tremendously lo­
  wer than that given.                Counsel's failure to familiarize him­
  self with U.S. Sentencing Guidelines resulted in a higher
  base offense level and a longer sentence of imprisonment
  for this movant.
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  (b) Direct Appeal of Ground Two:
     (1) If you appealed from the judgment of conviction, did you raise this       ISSt18?

         Yes 0     No /3
     (2) If you did not raise this issue in your direct appeal, explain why:
         Ineffective assistance of counsel


  (c) Post-Conviction Proceedings:

     (1) Did you raise this issue in any post-conviction motion, petition, or applica tion?
         Yes 0     No ON/A
     (2) If your answer to Question (c)( 1) is "Yes," state:

     Type of motion or petition: N / A
     Name and location of the court where the motion or petition was filed:
                                     N/A

     Docket or case number (if you know): N/ A
     Date of the court's decision: N / A
     Result (attach a copy of the court's opinion or order, if available):


                                            N/A

     (3) Did you receive a hearing on your motion, petition, or application?
         Yes 0    No 0       N/A
     (4) Did you appeal from the denial ofyoUl' motion, petition,   01'   application?
         Yes 0    No 0       N/A
     (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?

         Yes 0    No 0     N/A
     (6) If your answer to Question (c)(4) is "Yes," state:
     Name and location of the court where the appeal was filed:

                                N/A
     Docket or case number (if you know):      N/ A
     Date of the court's decision:   N/ A
     Result (attach a copy of the court's opinion or order, if available): N / A
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      (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
      raise this issue: Ineffective assistance of counsel




  GROUND THREE: Movant was denied his right to effective assista­
 nce of counsel during plea negotiations.
  (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
 Counsel convinced this movant to waive his right to appeal the
 conviction and sentence in this case, however, this waiver was
 the result of ineffective assistance of counsel based on the
 issues raised in Grounds One and Two. This movant received
 ineffective assistance of counsel as guaranteed under the u.s.
 Constitution. Indeed, this movant's federal sentence was en­
 hanced based on additional criminal conduct neither charged
 in the count of conviction, nor admitted to by this movant,
 which denied him due process of law. While this movant is a
 layman in matters of law, this ignorance should not suffice
 to justify his having to suffer under a conviction which was
 based on an unknowing and unintelligent plea - nor serve a
 sentence which was imposed illegally.

  (b) Direct Appeal of Ground Three:
     (1) If you appealed from the judgment of conviction, did you raise this issue?
          Yes 0 No Xl
     (2) If you did not raise this issue in your direct appeal, explain why:
         Ineffective assistance of counsel

  (c) Post·Conviction Proceedings:
     (1) Did you raise this issue in any post-conviction motion, petItion, 01' applica tion?
          Yes 0 No 0 N/A
     (2) If your answer to Question (c)(1) is "Yes," state:
     Type of motion or petition: N/ A
     Name and location of the court where the motion or petition was filed:
                    N/A
     Docket or case number (if you know):      N/ A
     Date of the court's decision: N/ A
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      Result (attach a copy of the court's opinion     01'   order, if available):


                                N/A
      (3) Did you receive a hearing on your motion, petition,         01'   application?
          Yes 0     No 0 N/A
      (4) Did you appeal from the denial of your motion, petition,           01'   application?
          Yes 0     r-;o   Q    N/A
      (5) Ifyotlr answer to Question (c)(4) is "Yes," did you l'aise this issue in the appeal?
         Yes 0      r-;o   Q   N/A
     (6) If your answer to Question (c)(4) is "Yes," state;
     Name and location of the court where the appeal was filed:
                                              N/A
     Docket or case number (if you know):           N/ A
     Date of the court's decision:                  N/ A
     Result (attach a copy of the court's opinion or order, if available):

                                                           N/A

     (7) If your answer to Question (c)(4) or Question (c)(5) is "r-;o," explain why you did not appeal or
     raise this issue:         N/ A




 GROUND FOUR: Reserved (F .R. Ci v. Proc., 15 (a) )


 (a) Supporting facts (Do not argue   01'   cite law. Just state the specific facts that support   YOUl'   claim,):
  Movant reserves his right to amend his 28 USCS 2255 motion
pursuant to Federal Rules of Civil Procedure, 15(a). Should
more evidence become available between the time of the filing
of the instant motion and the one-year deadline as allowed un­
der the Antiterrorism Act (Anti-Terrorism and Effective Death
Penalty Act of 1996), the movant will amend his motion.
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  (b) Direct Appeal of Ground Four:

     (1) If you appealed from the judgment of conviction, did you raise this issue?
         Yes 0 No 0      N/A
     (2) If you did not raise this issue in your direct appeal, explain why:
                             N/A


  (c) Post-Conviction Proceedings:
     (1) Did you raise this issue in any post-conviction motion, petition,       01'   application?
         Yes 0 No 0                  N/A
     (2) If your answer to Question (c)(1) is "Yes," state:
     Type of motion or petition:           N/ A
     Name and location of the court where the motion or petition was filed:

                                                  N/A
     Docket or case number (if you know):               N/ A
     Date of the court's decision:    N/ A
     Result (attach a copy of the court's opinion or order, if available):

                                       N/A

     (3) Did you receive a hearing on your motion, petition,   01'   application?
         Yes 0    No 0        N/A
     (4) Did you appeal from the denial of your motion, petition,      01'   application?
         Yes 0    No 0 N/A
     (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
         Yes 0    No 0    N/A
     (6) If your answer to Question (c)(4) is "Yes," state:
     Name and location of the court where the appeal was filed:

                                N/A

    Docket or case number (if you know): N / A
    Date of the court's decision: N / A
     Result (attach a copy of the court's opinion or order, if available):

                                           N/A
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     (7) If your answer to Question (c)(4) or Question (c)(5)   IS   "No," explain why you did not appeal or
     raise this issue:

                                               N/A




 13. Is there any ground in this motion that you have not previously presented in some federal court?
     If so, which ground or grounds have not been presented, and state yom' reasons for not
     presenting them:

    None of the grounds for relief raised herein have been pre­
    viously been raised before. The movant would submit that
    he received ineffective assistance of counsel and that any
    responsibility for not raising these grounds previously sh­
    ould be attributed to the federal government. None of the
    facts were available to this movant as it was not until he
    arrived at the u.s. Bureau bf Prisons land had access to
    a law libr.ar.y) that he knew of the vio ations.
 14. Do you have any matron, Iwtition, oi' appeal now pendi ng (filed and not decided yet)      111   any comt
    for the judgment you are challenging?        Yes 0   No lX
    If "Yes," state the name and location of the court, the docket or case number, the type of
    proceeding, and the issues raised.
                                                                     N/A




 15, Give the name and address, if known, of each attorney who represented you in the following
    stages of the judgment you are challenging:
    (a) At preliminary hearing;

       Greta Gail Stamper, 225 Main st., Williamsburg, KY. 40769
    (b) At arraignment and plea:
        Same as above
    (c) At trial:
                             N/A (Plea of Guilty)

               Robert M. Murphy, Jarrod James Beck, 709 Mill­
    (d) At sentencing:
    pond Rd., Lexington, KY. 40514
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    (e) On appeal:
        No appeal taken
    (f) In any post-conviction proceeding:
        N/A
    (g) On appeal from any ruling against you in a post-conviction proceeding:
              N/A

 16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in
    the same court and at the same time?            Yes 0 No   m Not   formally
 17, Do you have any future sentence to serve after you complete the sentence for the judgment that
    you are challenging?        Yes 0 No     Qg

    (a) If so, give name and location of court that imposed the other sentence you will serve in the
    future:                                       N/A

    (b) Give the date the other sentence was imposed: N / A
    (c) Give the length of the other sentence:     N/ A
    (d) Have you filed, or do you plan to file. any motion, petition, or application that challenges the
    judgment or sentence to be served in the future?      Yes 0   No 0   N/ A
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 18. TIMELINESS OF MOTION: If your jlldgment of conviction became final over one year ago, yOll
    must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
    bar your motion. *


      The movant herein was sentenced on June 18, 2013, thus,
      his instant motion is timely under the AEDPA.




* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C.
§ 2255, paragraph 6, provides in part that:
    A one-year period of limitation shall apply to a motion llnder this sectipn. The limitation period
    shall run from the latest of­
        (1) the date on which the judgment of conviction became final;
        (2) the date on which the impediment to making a motion created         governmental action in
        violation of the Constitution or laws of the United States is removed, if the movant was
        prevented from making such a motion by such governmental actiol'l;
        (3) the date on which the right asserted was initially recognized by the Supreme Court, if
        that right has been newly recognized by the Supreme Court and made retroactively
        applicable to cases on collateral review; or
        (4) the date on which the facts supporting the claim or claims presJnted could have been
        discovered through the exercise of due diligence.                    :
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                                         (1) To vacate hi s
 Therefore, movant asks that the Court grant the following relief:
 sentence and resentence him only for the monies concern~ng
 said count, or; (2) To vacate his conviction and set th~s
 matter for trial •••....
 or any other relief to which movant may be entitled.



                                                                  N/A       (Acting pro se)
                                                             Signature of Attol'l1ey (if any)




 I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion lInder 28 U.S.C. § 2255 was placed in the prison mailing system on
                 (month, date, year).

                 January 20th, 2014

Executed (signed) on    01 /20/ 201 4              (date).




                                                             Signature of Movant


If the person signing is not movant, state relationship to movant and explain why movant is not
signing this motion.

           N/A
